844 F.2d 587
    In re James R. AHLERS and Mary M. Ahlers, Debtors.James R. AHLERS and Mary M. Ahlers, Appellants,v.NORWEST BANK WORTHINGTON and Federal Land Bank, Appellees.In re James R. AHLERS and Mary M. Ahlers, Debtors.NORWEST BANK WORTHINGTON, N.A., Appellee,v.James R. AHLERS and Mary M. Ahlers, Appellants.
    Nos. 85-5396, 85-5397.
    United States Court of Appeals,Eighth Circuit.
    April 25, 1988.
    
      Appeals from the United States District Court for the District of Minnesota;  Donald D. Alsop, Chief Judge.
      Before HEANEY, JOHN R. GIBSON and WOLLMAN, Circuit Judges.ORDER
    
    
      1
      This case returns to this Court on remand from the United States Supreme Court, --- U.S. ----, 108 S.Ct. 963, 99 L.Ed.2d 169, which reversed the decision of this Court, 794 F.2d 388, and remanded for further proceedings consistent with its opinion.  Upon due consideration it is ORDERED:
    
    
      2
      1. The prior opinion of this Court is hereby vacated, and
    
    
      3
      2. The case is remanded to the United States District Court for the District of Minnesota with directions to it to take action in conformity with the opinion of the United States Supreme Court.
    
    